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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re:
Chapter ll
FUSE, LLC, et al.,l
Case No. 19-10872 (KG)
Debtors.
DIRECTV, LLC,
Plaintiff,
v. Adv. Pro. No. 19-50193 (KG)
FUSE, LLC,
Defendant.

 

ORDER AUTHORIZING AND DIRECTING THAT THE
ADVERSARY COMPLAINT SEEKING DECLARATORY RELIEF
BE FILED UNDER SEAL
Upon consideration of the motion (the “Motion”)z of plaintiff DIRECTV, LLC
(“DIRECTV”), by and through its attorneys, for entry of an order pursuant to section 107(b) of
the Bankruptcy Code, Rule 9018 of the Bankruptcy Rules, and Rule 9018-1 of the Local
Rules authorizing and directing the filing under seal of the Unredacted Complaint; and the
Court having determined that cause exists to grant the relief requested in the Motion; and notice

of the Motion having been given that is due and adequate under the circumstances; and after due

deliberation thereon, and good and sufficient cause appearing therefor, it is hereby

 

1 The Debtors and the last four digits of their taxpayer identification numbers include: Fuse

Media, Inc. (9721); Fuse Media, LLC (0560); Fuse, LLC (1888); JAAM Productions,
LLC (5499); SCN Distributions, LLC (9656); Latino Events LLC (8204); Fuse Holdings
LLC (5673); Fuse Finance, Inc. (8683); and FM Networks LLC (6500). The Debtors’

headquarters and service address is 700 North Central Avenue, Suite 600, Glendale, CA
91203.

All capitalized terms included but not defined herein shall have the meaning ascribed to
such terms in the Motion.

 

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ORDERED that the Motion is GRANTED to the extent set forth herein; and it is
further

ORDERED that the Unredacted Complaint shall be filed and kept by the Clerk of
the Court under seal and shall not be made publicly available pursuant to section 107(b) of the
Bankruptcy Code, Bankruptcy Rule 9018 and Local Rule 9018- l(b); and it is further'*-

ORDERED that this Court shall retain jurisdiction over any and all matters arising

from or related to the implementation or interpretation of this Order.

Dated: ig Q.*l l , 2019
Wilmingt n, Delaware

     

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UNITED STATES BAN UPTCY IUDGE

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